                                                        Entered on Docket
                                                        April 10, 2020
                                                        EDWARD J. EMMONS, CLERK
                                                        U.S. BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF CALIFORNIA


 1   JaVonne M. Phillips, Esq. SBN 187474
     Jennifer C. Wong, Esq. SBN 246725              Signed and Filed: April 10, 2020
 2
     McCarthy & Holthus, LLP
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 4
     Phone (877) 369-6122
 5   Fax (619) 685-4811                             __________________________________________
     jwong@mccarthyholthus.com                      HANNAH L. BLUMENSTIEL
 6                                                  U.S. Bankruptcy Judge

 7   Attorneys for
     U.S. Bank National Association, as trustee, in
 8
     trust for registered holders of First Franklin
 9   Mortgage Loan Trust, Mortgage Loan Asset-
     Backed Certificates, Series 2006-FF18, its
10   assignees and/or successors, by and through its
11   servicing agent Select Portfolio Servicing, Inc.

12
13                             UNITED STATES BANKRUPTCY COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15                                    SAN FRANCISCO DIVISION

16   In re:                                             ) Case No. 19-31238 HLB
                                                        )
17   Lynn Ann Simon,                                    ) Chapter 13
18                                                      )
                   Debtor.                              ) RS No. JCW-11305
19                                                      )
                                                        )
20                                                      ) ORDER ON MOTION FOR RELIEF
21                                                      ) FROM AUTOMATIC STAY
                                                        )
22                                                      ) Date: 4/09/2020
                                                        ) Time: 1:00PM
23
                                                        ) Ctrm: 19
24                                                      ) Place: 450 Golden Gate Ave
                                                        )        San Francisco, CA 94102
25                                                      )
26                                                      ) Judge: Hannah L. Blumenstiel
                                                        )
27                                                      )
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                                                1                   File No. CA-19-159338 / Case No. 19-31238 HLB
                                                                               Order on Motion for Relief From Stay
     Case: 19-31238      Doc# 27      Filed: 04/10/20      Entered: 04/10/20 16:45:23              Page 1 of 3
 1          The motion of U.S. Bank National Association, as trustee, in trust for registered holders
 2   of First Franklin Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates, Series 2006-
 3   FF18, its assignees and/or successors, by and through its servicing agent Select Portfolio
 4   Servicing, Inc. (“Movant”) for relief from the automatic stay came on regularly for hearing by
 5   the Court on the date, time and place set forth above, before the Honorable Hannah L.
 6   Blumenstiel. Movant appeared by and through its Attorney of Record, McCarthy & Holthus,
 7   LLP by Jennifer C. Wong, Esq. All other appearances are as noted in the court record.
 8          Upon reading the papers and pleadings on file herein, and upon hearing oral argument
 9   and based on the evidence presented, the Court rules as follows:
10
11          IT IS HEREBY ORDERED that the automatic stay provisions of 11 U.S.C. § 362 be
12   and are hereby terminated with respect to the interests of Movant in the real property commonly
13   known as 942 Wilmington Wy, Redwood City, CA 94062.
14          IT IS FURTHER ORDERED The fourteen day stay described in Bankruptcy Rule
15   4001(a)(3) is waived upon relief.
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17                                       ** END OF ORDER **
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                                               2                File No. CA-19-159338 / Case No. 19-31238 HLB
                                                                           Order on Motion for Relief From Stay
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 1                                COURT SERVICE LIST
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 3   NONE
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